Computer Forensics: DigitalForensic
Analysis Methodology

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Introduction

In comparison to other forensic sciences, the field of computer forensics is relatively young.
Unfortunately, many people do not understand what the term computer forensics means and what
techniques are involved. In particular, there is a lack of clarity regarding the distinction between data
extraction and data analysis. There is also confusion about how these two operations fit into the
forensic process. The Cybercrime Lab in the Computer Crime and Intellectual Property Section (CCIPS)
has developed a flowchart describing the digital forensic analysis methodology. Throughout this

article, the flowchart is used as an aid in the explanation of the methodology and its steps.

The Cybercrime Lab developed this flowchart after consulting with numerous computer forensic
examiners from several federal agencies. It is available on the public Web site at
www.cybercrime.gov/forensics_gov/forensicschart.pdf. The flowchart is helpful as a guide to
instruction and discussion. It also helps clarify the elements of the process. Many other resources are
available on the section's public Web site, www.cybercrime.gov. In addition, anyone in the Criminal
Division or U.S Attorneys' offices can find additional resources on the new intranet site, CCIPS Online.
Go to DO] Net and click on the "CCIPS Online" link. You can also reach us at (202) 514-1026.

Overview of the digital forensics analysis methodology

The complete definition of computer forensics is as follows: "The use of scientifically derived and
proven methods toward the preservation, collection, validation, identification, analysis, interpretation,

documentation and presentation of digital evidence derived from digital sources for the purpose of
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Forensic Research, Report from the First Digital Forensic Research Workshop (DFRWS), available at
http://dfrws.org/2001/dfrws-rm-final.pdf.

Defining computer forensics requires one more clarification. Many argue about whether computer
forensics is a science or art. United States v. Brooks, 427 F.3d 1246, 1252 (10th Cir. 2005) ("Given the
numerous ways information is stored on a computer, openly and surreptitiously, a search can be as
much an art as a science."). The argument is unnecessary, however. The tools and methods are
scientific and are verified scientifically, but their use necessarily involves elements of ability, judgment,
and interpretation. Hence, the word "technique" is often used to sidestep the unproductive science/art

dispute.

The key elements of computer forensics are listed below:

The use of scientific methods
Collection and preservation
Validation

Identification

Analysis and interpretation
Documentation and presentation

The Cybercrime Lab illustrates an overview of the process with Figure 1. The three steps,
Preparation/Extraction, Identification, and Analysis, are highlighted because they are the focus of this

article..

PROCESS OVERVIEW

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Figure 1

In practice, organizations may divide these functions between different groups. While this is
acceptable and sometimes necessary, it can create a source of misunderstanding and frustration. In
order for different law enforcement agencies to effectively work together, they must communicate
clearly. The investigative team must keep the entire picture in mind and be explicit when referring to

specific sections.
The prosecutor addsforersicroamnesnustdeciae, and tomimudivateit daaheothen tow much of the
process is to be completed at each stage of an investigation or prosecution. The process is potentially
iterative, so they also must decide how many times to repeat the process. It is fundamentally
important that everyone understand whether a case only needs preparation, extraction, and

identification, or whether it also requires analysis.

The three steps in the forensics process discussed in this article come after examiners obtain forensic
data and a request, but before reporting and case-level analysis is undertaken. Examiners try to be
explicit about every process that occurs in the methodology. In certain situations, however, examiners
may combine steps or condense parts of the process. When examiners speak of lists such as "Relevant
Data List," they do not mean to imply that the lists are physical documents. The lists may be written or
items committed to memory. Finally, keep in mind that examiners often repeat this entire process,

since a finding or conclusion may indicate a new lead to be studied.

Preparation/Extraction

Examiners begin by asking whether there is enough information to proceed. They make sure a clear
request is in hand and that there is sufficient data to attempt to answer it. If anything is missing, they

coordinate with the requester. Otherwise, they continue to set up the process.

The first step in any forensic process is the validation of all hardware and software, to ensure that they
work properly. There is still a debate in the forensics community about how frequently the software
and equipment should be tested. Most people agree that, at a minimum, organizations should validate
every piece of software and hardware after they purchase it and before they use it. They should also

retest after any update, patch, or reconfiguration.

When the examiner's forensic platform is ready, he or she duplicates the forensic data provided in the
request and verifies its integrity. This process assumes law enforcement has already obtained the data
through appropriate legal process and created a forensic image. A forensic image is a bit-for-bit copy
of the data that exists on the original media, without any additions or deletions. It also assumes the
forensic examiner has received a working copy of the seized data. If examiners get original evidence,
they need to make a working copy and guard the original's chain of custody. The examiners make sure
the copy in their possession is intact and unaltered. They typically do this by verifying a hash, or digital
fingerprint, of the evidence. If there are any problems, the examiners consult with the requester about

how to proceed.
After examiners vexify theeintegnitygofitbe Documert 100-5~Fjled-05/10/19 Page4.0f Losition.

data to be analyzed, a plan is developed to
extract data. They organize and refine the
forensic request into questions they
understand and can answer. The forensic
tools that enable them to answer these
questions are selected. Examiners generally
have preliminary ideas of what to look for,
based on the request. They add these to a
"Search Lead List," which is a running list of
requested items. For example, the request
might provide the lead "search for child
pornography." Examiners list leads explicitly
to help focus the examination. As they
develop new leads, they add them to the list,
and as they exhaust leads, they mark them

"processed" or "done."

For each search lead, examiners extract
relevant data and mark that search lead as
processed. They add anything extracted toa
second list called an "Extracted Data List."
Examiners pursue all the search leads,
adding results to this second list. Then they
move to the next phase of the methodology,

identification.

identification

Does request
contain sufficient
information to start
this process?

Yes
Setup and validate forensic
hardware and software;
create system configuration
as needed

Duplicate and verify
integrity of
‘Forensic Data”?

Integrity OK

Organize / Refine
forensic request and
select forensic tools

Coordinate
with
——NOwe Requesterto —
Determine
next step
EO Return
package to
Requester

Yes
Extract data requested qn

Add Extracted data to
“Prepared /Extracted
| Data List”.

|

Mark “Data Search Lead’
processed on “Data
S hi ‘ List”

Is there
more “Data
Search Lead” for

processing?

—

Examiners repeat the process of identification for each item on the Extracted Data List. First, they

determine what type of item it is. If it is not relevant to the forensic request, they simply mark it as

processed and move on. Just as in a physical search, if an examiner comes across an item that is

incriminating, but outside the scope of the original search warrant, it is recommended that the

examiner immediately stop all activity, notify the appropriate individuals, including the requester, and

wait for further instructions. For example, law enforcement might seize a computer for evidence of tax
fraud, but the examéner mMay-0001QABI Docume ngaa0}5 Filed 05/10/19 Page 5 of 15

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answering the original forensic

request. For example, in an

identity theft case, relevant Consider
Advising
i i ; Requester of
data might include social intial findings
security numbers, images of | |
false identification, or e-mails Mark item processed on — If there is data for
“Prepared/Extracted <« analysis, Start
discussing identity theft, among Data bist “ANALYSIS”

other things. It is also possible

for an item to generate yet another search lead. An email may reveal that a target was using another
nickname. That would lead to a new keyword search for the new nickname. The examiners would go
back and add that lead to the Search Lead List so that they would remember to investigate it

completely.

An item can also point to a completely new potential source of data. For example, examiners might
find a new e-mail account the target was using. After this discovery, law enforcement may want to
subpoena the contents of the new e-mail account. Examiners might also find evidence indicating the
target stored files on a removable universal serial bus (USB) drive—one that law enforcement did not
find in the original search. Under these circumstances, law enforcement may consider getting a new
search warrant to look for the USB drive. A forensic examination can point to many different types of
new evidence. Some other examples include firewall logs, building access logs, and building video

security footage. Examiners document these on a fourth list, the New Source of Data list.
After processing theéxtnaxted)Date-ist,Jexaminessigoobatk Focanyonewileadadevelsped. For any new
data search leads, examiners consider going back to the Extraction step to process them. Similarly, for
any new source of data that might lead to new evidence, examiners consider going all the way back to

the process of obtaining and imaging that new forensic data.

At this point in the process, it is advisable for examiners to inform the requester of their initial
findings. It is also a good time for examiners and the requester to discuss what they believe the return
on investment will be for pursuing new leads. Depending on the stage of a case, extracted and
identified relevant data may give the requester enough information to move the case forward, and
examiners may not need to do further work. For example, in a child pornography case, if an examiner
recovers an overwhelming number of child pornography images organized in usercreated directories,
a prosecutor may be able to secure a guilty plea without any further forensic analysis. If simple

extracted and identified data is not sufficient, then examiners move to the next step, analysis.

Analysis

In the analysis phase, examiners connect all the dots and paint a complete picture for the requester.
For every item on the Relevant Data List, examiners answer questions like who, what, when, where,
and how. They try to explain which user or application created, edited, received, or sent each item, and
how it originally came into existence. Examiners also explain where they found it. Most importantly,

they explain why all this information is significant and what it means to the case.
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Yes

Who/ What
« Who or what application created, edited, modified, sent,
received, or caused the file to be?
« Who is this item linked to and identified with?

Where ¥
e Where was it found? Where did it come from?
¢ Does it show where relevant events took place? If item or discovered If new "Data

information can Search Leads”
When generate new generated, Start
When was it created, accessed, modified, received, sent, > “Data Search “PREPARATION /

viewed, deleted, and launched? Leads”, document EXTRACTION”
Does it show when relevant events took place? :

new |
Time Analysis: What else happened on the system at ew leads to
same time? Were registry keys modified?

How
How did it originate on the media?
How was it created, transmitted, modified and used?
Does it show how relevant events occurred?

Associated Artifacts and Metadata
Registry entries.
Application/system logs.

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Other Connections
Do the above artifacts and metadata suggest links to any
other items or events?
What other correlating or corroborating information is
there about the item?
What did the user do with the item?

Identify any other information that is
relevant to the forensic request.

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re REPORTING" to
Document Findings.

Use timeline and/or other methods to

document findings on “Analysis Results
List”.

Often examiners can produce the most valuable analysis by looking at when things happened and
producing a timeline that tells a coherent story. For each relevant item, examiners try to explain when
it was created, accessed, modified, received, sent, viewed, deleted, and launched. They observe and

explain a sequence of events and note which events happened at the same time.
Examiners documentall their erulysispandotherinfoomationcelevantite thaderensicrequest, and add
it all to a fifth and final list, the "Analysis Results List." This is a list of all the meaningful data that
answers who, what, when, where, how, and other questions. The information on this list satisfies the
forensic request. Even at this late stage of the process, something might generate new data search
leads or a source of data leads. If this happens, examiners add them to the appropriate lists and

consider going back to examine them fully.

Finally, after examiners cycle through these steps enough times, they can respond to the forensic
request. They move to the Forensic Reporting phase. This is the step where examiners document
findings so that the requester can understand them and use them in the case. Forensic reporting is
outside the scope of this article, but its importance can not be overemphasized. The final report is the
best way for examiners to communicate findings to the requester. Forensic reporting is important
because the entire forensic process is only worth as much as the information examiners convey to the
requester. After the reporting, the requester does case-level analysis where he or she (possibly with

examiners) interprets the findings in the context of the whole case.

Conclusion

As examiners and requesters go through this process, they need to think about return on investment.
During an examination, the steps of the process may be repeated several times. Everyone involved in
the case must determine when to stop. Once the evidence obtained is sufficient for prosecution, the

value of additional identification and analysis diminishes.

It is hoped that this article is a helpful introduction to computer forensics and the digital forensics
methodology. This article and flowchart may serve as useful tools to guide discussions among
examiners and personnel making forensic requests. The Cybercrime Lab in the Computer Crime and
Intellectual Property Section (CCIPS) is always available for consultation. CCIPS personnel are also

available to assist with issues or questions raised in this article and other related subjects.

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The Cybercrime Lab is a group of technologists in the CCIPS in Washington, DC. The lab serves CCIPS
attorneys, Computer Hacking and Intellectual Property (CHIP) units in the U.S. Attorneys’ offices, and
Assistant U.S. Attorneys, by providing technical and investigative consultations, assisting with

computer forensic analysis, teaching, and conducting technical research in support of Department of

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